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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA

 v.
                                       Crim. Action No. 17-232 (EGS)
 MICHAEL T. FLYNN,

                   Defendant.


                    ORDER APPOINTING AMICUS CURIAE

      Upon consideration of the entire record in this case, it is

hereby

      ORDERED that the Court exercises its inherent authority to

appoint The Honorable John Gleeson (Ret.) as amicus curiae to

present arguments in opposition to the government’s Motion to

Dismiss, ECF No. 198, see, e.g., United States v. Fokker Servs.

B.V., 818 F.3d 733, 740 (D.C. Cir. 2016); Jin v. Ministry of

State Sec., 557 F. Supp. 2d 131, 136 (D.D.C. 2008); it is

further

      ORDERED that amicus curiae shall address whether the Court

should issue an Order to Show Cause why Mr. Flynn should not be

held in criminal contempt for perjury pursuant to 18 U.S.C.

§ 401, Federal Rule of Criminal Procedure 42, the Court’s

inherent authority, and any other applicable statutes, rules, or

controlling law.
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    SO ORDERED.

Signed:   Emmet G. Sullivan
          United States District Judge
          May 13, 2020




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